

People v Cantu-Garcia (2020 NY Slip Op 06964)





People v Cantu-Garcia


2020 NY Slip Op 06964


Decided on November 24, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 24, 2020

Before: Friedman, J.P., Manzanet-Daniels, Oing, Kennedy, JJ. 


Ind No. 671/17 Appeal No. 12455 Case No. 2019-5133 

[*1]The People of The State of New York, Respondent, 
vNicholas Cantu-Garcia, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Danielle J. Krumholz of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniel J. Young of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Ralph A. Fabrizio, J.), rendered March 14, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 24, 2020
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








